    EXHIBIT 6
FILED UNDER SEAL
                                                                                     Reset Form




                              UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW HAMPSHIRE




Ocado Innovation LTD. and Ocado Solutions LTD
_____________________________________
Plaintiff(s)/United States

               v.                                            1:21-CV-00041
                                                    Case No. ______________________________

Autostore AS and Autostore System Inc.
_____________________________________
Defendant(s)




                            NOTICE OF CONVENTIONAL FILING

                                   Autostore AS and Autostore System, Inc.
          Please take notice that _____________________________________________      has
                                                          Exhibit 6, Excerpts from
conventionally filed the following attachment or exhibit: ______________________________
Lindbo, Lars [2021.04.30] Deposition.
_____________________________________________________________________________.

       This attachment or exhibit has not been filed electronically because:
It is subjecto to the Protective Order (Doc. 90).




     August 1, 2022
Date:___________________                      /s/ Robert R. Lucic
                                               Robert R. Lucic
                                              ____________________________________
                                              9062
                                              ____________________________________
                                              Sheehan Phinney
                                              ____________________________________
                                              1000 Elm Street, 17th Floor
                                              ____________________________________
                                              Manchester, NH 03101
                                              ____________________________________
                                              603-627-8188
                                              ____________________________________
                                              rlucic@sheehan.com
                                              ____________________________________
                               CERTIFICATE OF SERVICE

       I hereby certify that the foregoing attachment/exhibit was conventionally served on the
following persons on this date and in the manner specified herein:

All counsel of record.




     August 1, 2022
Date:___________________                   /s/ Robert R. Lucic
                                            Robert R. Lucic
                                           ____________________________________
                                            9062
                                           ____________________________________
                                            Sheehan Phinney
                                           ____________________________________
                                            1000 Elm Street, 17th Floor
                                           ____________________________________
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